        CASE 0:21-cr-00186-WMW-KMM Doc. 15 Filed 09/15/21 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                          Criminal No. 21-186(2) WMW/KMM

United States of America,

                                  Plaintiff,

v.                                                ORDER FOR APPOINTMENT
                                                  OF COUNSEL
Nicole Katherine Zetzman,

                                Defendant.


       The Court has determined that the defendant in the above matter is financially

unable to employ counsel and finds that it is in the interest of justice that counsel be

assigned.

       IT IS HEREBY ORDERED that A.L. Brown, Attorney ID 331909, is appointed as

counsel pursuant to 18 U.S.C. § 3006A.


Dated: September 15, 2021                      s/ Katherine M. Menendez
                                               Honorable Katherine M. Menendez
                                               United States Magistrate Judge
